 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Northern District of Ohio            (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                                 Chapter 11
                                                              
                                                                                                                            Check if this is an
                                                                  Chapter 12
                                                                 Chapter 13
                                                                                                                               amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                                12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                         About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                          Christopher
                                         __________________________________________________           __________________________________________________
       identification (for example,      First name                                                   First name
       your driver’s license or           Mark
                                         __________________________________________________           __________________________________________________
       passport).                        Middle name                                                  Middle name

       Bring your picture                 Harris
                                         __________________________________________________           __________________________________________________
       identification to your meeting    Last name                                                    Last name
       with the trustee.                 ___________________________                                  ___________________________
                                         Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                            8    2    5    5
      your Social Security               xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                  OR                                                           OR
      Individual Taxpayer
      Identification number              9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
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                                  About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):



                                                                                               I have not used any business names or EINs.
4.   Any business names
                                  ✔ I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in       _________________________________________________            _________________________________________________
     the last 8 years             Business name                                                Business name

     Include trade names and
                                  _________________________________________________            _________________________________________________
     doing business as names      Business name                                                Business name



                                  _________________________________________________            _________________________________________________
                                  EIN                                                          EIN

                                  _________________________________________________            _________________________________________________

                                  EIN                                                          EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:


                                  4207 Pueblo Drive                                            _________________________________________________
                                  _________________________________________________
                                  Number     Street                                            Number     Street


                                  _________________________________________________            _________________________________________________


                                  Lorain                                  OH
                                  _________________________________________________
                                                                                    44053      _________________________________________________
                                  City                            State   ZIP Code             City                            State   ZIP Code

                                  Lorain County                                                _________________________________________________
                                  _________________________________________________
                                  County                                                       County


                                  If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                  above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                  any notices to you at this mailing address.                  any notices to this mailing address.


                                  _________________________________________________            _________________________________________________
                                  Number     Street                                            Number     Street

                                  _________________________________________________            _________________________________________________
                                  P.O. Box                                                     P.O. Box

                                  _________________________________________________            _________________________________________________
                                  City                            State   ZIP Code             City                            State   ZIP Code




6.   Why you are choosing         Check one:                                                   Check one:

                                                                                               Over the last 180 days before filing this petition, I
     this district to file for    ✔ Over the last 180 days before filing this petition, I
     bankruptcy
                                        have lived in this district longer than in any other      have lived in this district longer than in any other
                                        district.                                                 district.

                                   I have another reason. Explain.                             I have another reason. Explain.
                                        (See 28 U.S.C. § 1408.)                                   (See 28 U.S.C. § 1408.)




     Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                 page 2
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 Pa rt 2 :     T e ll t he Court About Y our Ba nk rupt c y Ca se


 7.    The chapter of the             Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
                                      
                                      ✔
                                        Chapter 7
                                       Chapter 11
       under


                                       Chapter 12
                                       Chapter 13

 8.    How you will pay the fee        I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                          local court for more details about how you may pay. Typically, if you are paying the fee
                                          yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                          submitting your payment on your behalf, your attorney may pay with a credit card or check
                                          with a pre-printed address.

                                      
                                      ✔ I need to pay the fee in installments. If you choose this option, sign and attach the

                                          Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                          By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                          less than 150% of the official poverty line that applies to your family size and you are unable to
                                          pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                          Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for        
                                 ✔ No


                                  Yes.
       bankruptcy within the
       last 8 years?                      District ____________________________________________ When ______________ Case number __________________


                                          District ____________________________________________ When ______________ Case number __________________


                                          District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy               No
                                       
       cases pending or being
                                        ✔ Yes.
       filed by a spouse who is
       not filing this case with
       you, or by a business
       partner, or by an                 Janice Harris
                               Debtor _________________________________________________                                     Wife
                                                                                                        Relationship to you ________________________
       affiliate?                        Northern District of Ohio
                               District _______________________________________________                                             18-15816
                                                                                              09/28/2018 Case number, if known__________________
                                                                                        When _______________



                                Debtor _________________________________________________                    R elationship to you ___________________________

                                District _______________________________________________ When _______________ Case number, if known__________________


                                      
                                       Yes.
11.    Do you rent your               ✔ No.     Go to line 12.
       residence?                               Has your landlord obtained an eviction judgment against you?


                                                   No. Go to line 12.
                                                   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                    this bankruptcy petition.




       Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor          
                                         ✔ No. Go to Part 4.
                                          Yes. Name and location of business
      of any full- or part-time
      business?
      A sole proprietorship is a
      business you operate as an                  _______________________________________________________________________________________
                                                  Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or              _______________________________________________________________________________________
                                                  Number    Street
      LLC.
      If you have more than one
                                                  _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                           _______________________________________________        _______      __________________________
                                                   City                                                  State        ZIP Code


                                                  Check the appropriate box to describe your business:
                                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                     None of the above


13.   Are you filing under               If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                  can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                         any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
                                         
      debtor?
                                         ✔ No.    I am not filing under Chapter 11.

                                          No.
      For a definition of small
      business debtor, see                        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                       the Bankruptcy Code.

                                          Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                  Bankruptcy Code.


Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m e dia t e Att e nt ion


14.   Do you own or have any             
                                         ✔ No
                                          Yes.
      property that poses or is
      alleged to pose a threat                     What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                   If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                   Where is the property?




      Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
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Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                         About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit              You must check one:                                          You must check one:
      counseling.
                                         
                                         ✔ I received a briefing from an approved credit               I received a briefing from an approved credit
                                            counseling agency within the 180 days before I               counseling agency within the 180 days before I
      The law requires that you             filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
      receive a briefing about credit       certificate of completion.                                   certificate of completion.
      counseling before you file for
                                            Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
      bankruptcy. You must
                                            plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                          I received a briefing from an approved credit               I received a briefing from an approved credit
                                            counseling agency within the 180 days before I               counseling agency within the 180 days before I
      eligible to file.                     filed this bankruptcy petition, but I do not have a          filed this bankruptcy petition, but I do not have a
                                            certificate of completion.                                   certificate of completion.
      If you file anyway, the court
                                            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                            you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                            plan, if any.                                                plan, if any.
      you paid, and your creditors
      can begin collection activities     I certify that I asked for credit counseling                I certify that I asked for credit counseling
      again.                                services from an approved agency, but was                    services from an approved agency, but was
                                            unable to obtain those services during the 7                 unable to obtain those services during the 7
                                            days after I made my request, and exigent                    days after I made my request, and exigent
                                            circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                            of the requirement.                                          of the requirement.
                                            To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                            requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                            what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                            you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                            bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                            required you to file this case.                              required you to file this case.
                                            Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                            dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                            briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                            If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                            still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                            You must file a certificate from the approved                You must file a certificate from the approved
                                            agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                            developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                            may be dismissed.                                            may be dismissed.
                                            Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                            only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                            days.                                                        days.

                                          I am not required to receive a briefing about               I am not required to receive a briefing about
                                            credit counseling because of:                                credit counseling because of:

                                             Incapacity.      I have a mental illness or a mental        Incapacity.      I have a mental illness or a mental
                                                               deficiency that makes me                                     deficiency that makes me
                                                               incapable of realizing or making                             incapable of realizing or making
                                                               rational decisions about finances.                           rational decisions about finances.
                                             Disability.      My physical disability causes me           Disability.      My physical disability causes me
                                                               to be unable to participate in a                             to be unable to participate in a
                                                               briefing in person, by phone, or                             briefing in person, by phone, or
                                                               through the internet, even after I                           through the internet, even after I
                                                               reasonably tried to do so.                                   reasonably tried to do so.
                                             Active duty.     I am currently on active military          Active duty.     I am currently on active military
                                                               duty in a military combat zone.                              duty in a military combat zone.
                                            If you believe you are not required to receive a             If you believe you are not required to receive a
                                            briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                            motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




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Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                      16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                as “incurred by an individual primarily for a personal, family, or household purpose.”
                                           
      you have?

                                           
                                               No. Go to line 16b.
                                           ✔   Yes. Go to line 17.

                                      16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                           
                                           
                                               No. Go to line 16c.
                                               Yes. Go to line 17.

                                      16c. State the type of debts you owe that are not consumer debts or business debts.
                                           _______________________________________________________________


                                       No.
17.   Are you filing under
      Chapter 7?                               I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
                                         administrative expenses are paid that funds will be available to distribute to unsecured creditors?
                                          No
      any exempt property is
      excluded and                       ✔
                                          Yes
      administrative expenses
      are paid that funds will be
      available for distribution
      to unsecured creditors?

                                                                               1,000-5,000                             25,001-50,000
                                       50-99                                   5,001-10,000                            50,001-100,000
18.   How many creditors do           ✔ 1-49

                                       100-199                                 10,001-25,000                           More than 100,000
      you estimate that you
      owe?
                                       200-999
                                                                               $1,000,001-$10 million                  $500,000,001-$1 billion
                                       $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
19.   How much do you                 ✔ $0-$50,000

                                       $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
      estimate your assets to
      be worth?
                                       $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
                                       $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
                                       $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
20.   How much do you

                                                                               $50,000,001-$100 million                $10,000,000,001-$50 billion
      estimate your liabilities
      to be?
                                       $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
                                      ✔ $100,001-$500,000

Pa rt 7 :      Sign Be low

                                      I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                               correct.
                                      If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                      of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                      under Chapter 7.
                                      If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                      this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                      I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                      I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                      with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.



                                       /s/ Christopher Mark Harris                                  _____________________________
                                      18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                         ______________________________________________
                                         Signature of Debtor 1                                           Signature of Debtor 2

                                                         10/19/2018
                                         Executed on _________________                                   Executed on __________________
                                                        MM    / DD    / YYYY                                            MM / DD     / YYYY




            Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                    page 6
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                                 I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are    to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one               available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                 the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no



                                 _________________________________
If you are not represented       knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.            /s/ William Balena                                                Date           10/19/2018
                                                                                                                   _________________
                                    Signature of Attorney for Debtor                                               MM     /    DD / YYYY



                                      William Balena
                                    _________________________________________________________________________________________________
                                    Printed name

                                      Balena Law Firm LLC
                                    _________________________________________________________________________________________________
                                    Firm name

                                     30400 Detroit Road
                                    _________________________________________________________________________________________________
                                    Number Street

                                     Suite 106
                                    _________________________________________________________________________________________________

                                     Westlake                                                        OH            44145
                                    ______________________________________________________ ____________ ______________________________
                                    City                                                    State        ZIP Code




                                    Contact phone 440-365-2000
                                                  ______________________________         Email address
                                                                                                         bill@ohbksource.com
                                                                                                         _________________________________________



                                     0019641                                                         OH
                                    ______________________________________________________ ____________
                                    Bar number                                              State




       Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                      page 7
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 Fill in this information to identify your case:

 Debtor 1
                     Christopher Mark Harris
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Ohio District of __________

                                                                                                                                                                           Check if this is an
                                                                                                (State)
 Case number         ___________________________________________
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 38,005.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 8,655.67
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 46,660.67
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 77,655.55
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 86,352.00
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 164,007.55
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 3,406.41
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 3,350.47
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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                  Christopher Mark Harris
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                          4,986.27
                                                                                                                                          $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                               0.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                                         0.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
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Fill in this information to identify your case and this filing:


Debtor 1
                    Christopher Mark Harris
                  __________________________________________________________________
                    First Name                Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: Northern District of Ohio District of __________
                                                                                     (State)


                                                                                                                                          Check if this is an
Case number         ___________________________________________

                                                                                                                                              amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                               12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    
         No. Go to Part 2.
    ✔    Yes. Where is the property?
                                                                  
                                                                  What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put


                                                                  
                                                                  ✔    Single-family home                           the amount of any secured claims on Schedule D:
      1.1. 412   Erie Road                                                                                          Creditors Who Have Claims Secured by Property:

                                                                  
           _________________________________________                   Duplex or multi-unit building
           Street address, if available, or other description

                                                                  
                                                                       Condominium or cooperative                   Current value of the Current value of the

                                                                  
                                                                       Manufactured or mobile home                  entire property?     portion you own?
             _________________________________________

                                                                  
                                                                       Land                                          76,010.00
                                                                                                                    $________________   38,005.00
                                                                                                                                      $_________________

                                                                  
                                                                       Investment property
             Vermilion                OH 44089
             _________________________________________                                                              Describe the nature of your ownership

                                                                  
                                                                       Timeshare                                    interest (such as fee simple, tenancy by
             City                        State       ZIP Code
                                                                       Other __________________________________     the entireties, or a life estate), if known.
                                                                                                                    Fee  simple
                                                                                                                     Check if this is community property
                                                                  Who has an interest in the property? Check one.   __________________________________________

                                                                  
                                                                   Debtor 2 only
                                                                  ✔ Debtor 1 only
            Lorain County
            _________________________________________

                                                                   Debtor 1 and Debtor 2 only
             County


                                                                   At least one of the debtors and another
                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:
                                                            PPN: 010000110452: FMV: Lorain County Auditor
                                                            Jointly owned with wife.




                                                                 
    If you own or have more than one, list here:                 What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put


                                                                 
                                                                      Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                    Creditors Who Have Claims Secured by Property.

                                                                 
      1.2. ________________________________________                   Duplex or multi-unit building
           Street address, if available, or other description

                                                                 
                                                                     Condominium or cooperative                     Current value of the     Current value of the

                                                                 
                                                                      Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________

                                                                 
                                                                      Land                                          $________________        $_________________

                                                                 
                                                                      Investment property
             ________________________________________

                                                                 
                                                                      Timeshare                                     Describe the nature of your ownership
             City                    State   ZIP Code
                                                                      Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                    the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                  Debtor 1 only
                                                                                                                    __________________________________________
             ________________________________________
                                                                  Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only                        Check if this is community property
             County


                                                                  At least one of the debtors and another             (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




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                                                                                                                                           67 1 of ___
                                                                                                                                                    10
                                                                 
1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put


                                                                 
                                                                     Single-family home                                   the amount of any secured claims on Schedule D:
            ________________________________________                                                                      Creditors Who Have Claims Secured by Property.

                                                                 
            Street address, if available, or other description       Duplex or multi-unit building
                                                                                                                          Current value of the      Current value of the
                                                                 
                                                                     Condominium or cooperative
                                                                                                                          entire property?          portion you own?

                                                                 
            ________________________________________                 Manufactured or mobile home
                                                                                                                          $________________         $_________________
                                                                 
                                                                     Land


                                                                 
            ________________________________________
                                                                     Investment property
                                                                                                                          Describe the nature of your ownership

                                                                 
            City                    State   ZIP Code                 Timeshare
                                                                                                                          interest (such as fee simple, tenancy by
                                                                     Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
                                                                  Debtor 1 only
                                                                  Debtor 2 only
            ________________________________________


                                                                                                                           Check if this is community property
            County

                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another                    (see instructions)
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  38,005.00
   you have attached for Part 1. Write that number here. ...................................................................................... 
                                                                                                                                                    $_________________



Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   
   
         No
   ✔     Yes

                   Chrysler                                      Who has an interest in the property? Check one.
                                                                 
    3.1.    Make: ____________________________                                                                            Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:

                                                                  Debtor 2 only
                    Sedan 200
            Model: ____________________________
                                                                 ✔ Debtor 1 only
                                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                  Debtor 1 and Debtor 2 only
            Year:                  2013
                                  ____________                                                                            Current value of the      Current value of the
                                                                  At least one of the debtors and another
                                  58,510
            Approximate mileage: ____________                                                                             entire property?          portion you own?


                                                                  Check if this is community property (see
         Other information:
   Condition: Fair; FMV: NADA
                                                                                                                           6,800.00
                                                                                                                          $________________          6,800.00
                                                                                                                                                    $________________
                                                                     instructions)



   If you own or have more than one, describe here:
                                                                 Who has an interest in the property? Check one.
                                                                  Debtor 1 only
    3.2.    Make: ____________________________                                                                            Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:

                                                                  Debtor 2 only
            Model: ____________________________                                                                           Creditors Who Have Claims Secured by Property.

                                                                  Debtor 1 and Debtor 2 only
            Year:                     ____________                                                                        Current value of the      Current value of the

                                                                  At least one of the debtors and another
                                                                                                                          entire property?          portion you own?
            Approximate mileage: ____________


                                                                  Check if this is community property (see
            Other information:
                                                                                                                          $________________         $________________
                                                                     instructions)




                                                                                                                                                                   10
                                                                                                                                                              2 of __
                                                                                                                                                         page ___
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                                                                              Who has an interest in the property? Check one.
                                                                               Debtor 1 only
                       ____________________________                                                                                                     Do not deduct secured claims or exemptions. Put
  ____.    Make:
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                               Debtor 2 only
           Model: ____________________________                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                               Debtor 1 and Debtor 2 only
           Year:                             ____________                                                                                               Current value of the             Current value of the
                                                                               At least one of the debtors and another
           Approximate mileage: ____________                                                                                                            entire property?                 portion you own?


                                                                               Check if this is community property (see
           Other information:
                                                                                                                                                        $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.
                                                                               Debtor 1 only
                                                                                                                                                        Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________                                                                                                           the amount of any secured claims on Schedule D:

                                                                               Debtor 2 only
           Model: ____________________________                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                               Debtor 1 and Debtor 2 only
           Year:                             ____________                                                                                               Current value of the             Current value of the
                                                                               At least one of the debtors and another
           Approximate mileage: ____________                                                                                                            entire property?                 portion you own?


                                                                               Check if this is community property (see
           Other information:
                                                                                                                                                        $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   
   ✔    No
        Yes


                                                                             Who has an interest in the property? Check one.
                                                                              Debtor 1 only
   4.1.     Make:       ____________________________                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                              Debtor 2 only
            Model: ____________________________                                                                                                         Creditors Who Have Claims Secured by Property.


                                                                              Debtor 1 and Debtor 2 only
            Year:       ____________

                                                                              At least one of the debtors and another
                                                                                                                                                        Current value of the             Current value of the
            Other information:                                                                                                                          entire property?                 portion you own?

                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.
                                                                              Debtor 1 only
   4.2.     Make:       ____________________________                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                              Debtor 2 only
            Model: ____________________________                                                                                                         Creditors Who Have Claims Secured by Property.

                                                                              Debtor 1 and Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the

                                                                              At least one of the debtors and another
                                                                                                                                                        entire property?                 portion you own?
            Other information:


                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




   you have attached for Part 2. Write that number here ............................................................................................................................
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      6,800.00
                                                                                                                                                                                        $_________________




                                                                                                                                                                                                   3      10
                                                                                                                                                                                              page ___ of __

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Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.


    No
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Furniture & household goods

   
   ✔ Yes. Describe. ........


                                                                                                                                                                                                      1,400.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music

    No
             collections; electronic devices including cell phones, cameras, media players, games

   
                            TV & Cell phone
   ✔ Yes. Describe. ........                                                                                                                                                                          350.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;

   
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

    Yes. Describe. .........
   ✔ No
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   
   ✔    No
        Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

10. Firearms


   
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment

    Yes. Describe. .........
   ✔ No
                                                                                                                                                                                                     0.00
                                                                                                                                                                                                    $___________________

11. Clothes


    No
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

   
                          Used clothing
   ✔    Yes. Describe. .........                                                                                                                                                                      100.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   
   
   ✔    No
        Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   
   ✔    No
        Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   
   ✔    No
        Yes. Give specific                                                                                                                                                                            0.00
                                                                                                                                                                                                    $___________________
        information...............


   for Part 3. Write that number here ........................................................................................................................................................ 
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        1,850.00
                                                                                                                                                                                                    $______________________



                                                                                                                                                                                                                    4      10
                                                                                                                                                                                                               page ___ of __

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Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   
   ✔   No
       Yes .....................................................................................................................................................................   Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   
   
       No
   ✔   Yes .....................                 Institution name:


   17.1. Checking account:
                                                 Fifth Third Bank (1409) (Payroll directly deposited)                                 5.67
                                                 ___________________________________________________________________________________ $__________________

   17.2. Checking account:                       ___________________________________________________________________________________ $__________________

   17.3. Savings account:                        ___________________________________________________________________________________ $__________________

   17.4. Savings account:                        ___________________________________________________________________________________ $__________________

   17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                               $__________________
   17.6. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.7. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.8. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   
   ✔   No
       Yes ..................
   Institution or issuer name:
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in


   
   an LLC, partnership, and joint venture

    Yes. Give specific
   ✔ No



       information about                                                                                                                                                                                            $__________________
       them. ........................
                                                                                                                                                                                                                    $__________________
  Name of entity:                                                                                                                                                                         % of ownership:
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%

  _____________________________________________________________________________________________________                                                                                       ___________%          $__________________


                                                                                                                                                                                                                                         10
                                                                                                                                                                                                                                    5 of __
                                                                                                                                                                                                                               page ___
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.

    
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


     Yes. Give specific
    ✔ No



         information about
         them. ......................
    Issuer name:

    ___________________________________________________________________________________________________________________
                                                                                                                                       $__________________

    ___________________________________________________________________________________________________________________ $__________________

    ________________________________________________________________________________________________________________ $__________________

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
   
   ✔ Yes. List each

         account separately.                Institution name:
         Type of account:

 401(k) or similar plan:           _________________________________________________________________________________________________   $__________________
                                                                                                                                       $__________________
 Pension plan:                     Police & Fire Pension
                                   _________________________________________________________________________________________________  Unknown
                                                                                                                                     $__________________
                                                                                                                                     $__________________

 IRA:                              _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Retirement account:               _________________________________________________________________________________________________   $___________________
                                                                                                                                       $_________________
 Keogh:                            _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

    
    ✔    No
        Yes ...........................    Institution name or individual:

Electric:                  ____________________________________________________________________________________________________
                                                                                                                                       $___________________

Gas:                       ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Heating oil:               _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rental unit:               ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Prepaid rent:              _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Telephone:                 _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Water:                     _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rented furniture:        ______________________________________________________________________________________________________ $___________________
                                                                                                                                $___________________

Other:                   ___________________________________________________________________________________________________ $___________________
                                                                                                                             $___________________

                                                                                                                                       $__________________
                                                                                                                                       _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    
    ✔    No
        Yes ...........................   Issuer name and description:
_____________________________________________________________________________________________________________________                  $__________________

_____________________________________________________________________________________________________________________                  $__________________
_____________________________________________________________________________________________________________________                  $__________________
                                                                                                                                       $__________________
                                                                                                                                       $__________________
                                                                                                                                                          10
                                                                                                                                                    6 of __
                                                                                                                                       $__________________
                                                                                                                                               page ___
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   
   ✔   No
       Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔

   
       No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔

   
       No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   
   ✔   No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   
   ✔   No
       Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   
       No
   ✔   Yes. Give specific information. ............. Auto Accident Claim; Attorney Larry S. Klein (216)
                                                     502-3947                                                                Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        Unknown
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   
   ✔   No
       Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



                                                                                                                                                                       7     10
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31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   
   ✔    No
        Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ...
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                               ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive

   
   property because someone has died.


   
   ✔    No
        Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   
   ✔    No
        Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights


   
   to set off claims


   
   ✔    No
        Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   
   ✔    No
        Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                     $_____________________




   for Part 4. Write that number here ........................................................................................................................................................ 
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                      5.67
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .



   
37. Do you own or have any legal or equitable interest in any business-related property?


   
   ✔    No. Go to Part 6.
        Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

   
   
        No
        Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies


   
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices


   
        No
        Yes. Describe .......                                                                                                                                                                      $_____________________



                                                                                                                                                                                                                         10
                                                                                                                                                                                                                    8 of __
                                                                                                                                                                                                               page ___
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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   
        No
        Yes. Describe .......
                                                                                                                                                                                                   $_____________________




   
41. Inventory


   
        No
        Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

   
   
        No
        Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________



   
43. Customer lists, mailing lists, or other compilations


   
        No
        Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                
                      No
                      Yes. Describe.........
                                                                                                                                                                                                   $____________________



   
44. Any business-related property you did not already list


   
        No
        Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________


   for Part 5. Write that number here ........................................................................................................................................................ 
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.



   
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?


   
   ✔    No. Go to Part 7.
        Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   
        No
        Yes ...........................

                                                                                                                                                                                                     $___________________



                                                                                                                                                                                                                        10
                                                                                                                                                                                                                   9 of __
                                                                                                                                                                                                              page ___
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48. Crops—either growing or harvested

     
     
           No
           Yes. Give specific
           information. ............                                                                                                                                                                           $___________________


     
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade


     
           No
           Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     
           No
           Yes ...........................
                                                                                                                                                                                                               $___________________



     
51. Any farm- and commercial fishing-related property you did not already list


     
           No
           Yes. Give specific
           information. ............                                                                                                                                                                           $___________________


     for Part 6. Write that number here ........................................................................................................................................................ 
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________




Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     
     ✔     No
           Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                38,005.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    6,800.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               1,850.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           5.67
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
                                                                                                                                       Copy personal property total 
62. Total personal property. Add lines 56 through 61. ...................                                             8,655.67
                                                                                                                     $________________                                                                            8,655.67
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       46,660.67
                                                                                                                                                                                                               $_________________



                                                                                                                                                                                                                                  10
                                                                                                                                                                                                                            10 of __
                                                                                                                                                                                                                       page ___
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 Fill in this information to identify your case:

                     Christopher Mark Harris
 Debtor 1          __________________________________________________________________
                     First Name                  Middle Name               Last Name

 Debtor 2            Janice C Harris
                     ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Ohio District of __________

                                                                                                                                                      Check if this is an
                                                                                        (State)
 Case number         ___________________________________________
  (If known)
                                                                                                                                                         amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                               4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
     ✔ You are claiming state and federal nonbankruptcy exemptions.                    11 U.S.C. § 522(b)(3)




 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on           Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                   portion you own                           exemption you claim

                                                               Copy the value from                       Check only one box
                                                               Schedule A/B                              for each exemption


                                                                                                  
                 Household goods - Furniture & household goods                                                                          Ohio Rev. Code Ann. §
 Brief                                                                 1,400.00                                                         2329.66(A)(4)(a)
                                                                      $________________           ✔ $ ____________
                                                                                                      1,400.00
                                                                                                    100% of fair market value, up to
 description:

 Line from                                                                                             any applicable statutory limit
 Schedule A/B:         6


                                                                                                   $ ____________
                 Electronics - TV & Cell phone                                                                                          Ohio Rev. Code Ann. §
 Brief                                                                                                                                  2329.66(A)(4)(a)
                                                                      $________________
                                                                        350.00                        350.00
                                                                                                    100% of fair market value, up to
                                                                                                   ✔
 description:
 Line from                                                                                             any applicable statutory limit
 Schedule A/B:          7

                                                                                                  
                 Clothing - Used clothing                                                                                               Ohio Rev. Code Ann. §
 Brief                                                                                                                                  2329.66(A)(4)(a)
                                                                      $________________
                                                                        100.00                    ✔ $ ____________
                                                                                                      100.00
                                                                                                    100% of fair market value, up to
 description:

 Line from                                                                                             any applicable statutory limit
 Schedule A/B:           11

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     
     ✔     No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          
          
                  No
                  Yes



Official Form 106C                                             Schedule C: The Property You Claim as Exempt                                                               2
                                                                                                                                                                page 1 of __
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Debtor           Christopher Mark Harris
                _______________________________________________________                           Case number (if known)_____________________________________
                First Name      Middle Name            Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                               Amount of the                       Specific laws that allow exemption
                                                                      Current value of the   exemption you claim
         on Schedule A/B that lists this property                     portion you own
                                                                     Copy the value from    Check only one box
                                                                      Schedule A/B           for each exemption
               Fifth Third Bank (1409) (Payroll directly deposited)

                                                                                             
                                                                                                                                  2329.66(A)(3)
Brief        (Checking)
                                                                        5.67
                                                                       $________________         5.67
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
description:
Line from                                                                                       any applicable statutory limit
Schedule A/B:          17.1


                                                                                             
               Police & Fire Pension                                                                                              742.47
Brief
                                                                       $________________
                                                                        Unknown              ✔ $ ____________
                                                                                                 0.00
                                                                                              100% of fair market value, up to
description:

                                                                                                any applicable statutory limit
Line from
Schedule A/B:           21


                                                                                              $ ____________
Brief
                                                                       $________________
                                                                                              100% of fair market value, up to
description:

Line from                                                                                       any applicable statutory limit
Schedule A/B:

                                                                                              $ ____________
Brief
description:                                                           $________________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:

                                                                                              $ ____________
Brief
description:                                                           $________________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:

                                                                                              $ ____________
Brief
                                                                       $________________
                                                                                              100% of fair market value, up to
description:

Line from                                                                                       any applicable statutory limit
Schedule A/B:

                                                                                              $ ____________
Brief
                                                                       $________________
                                                                                              100% of fair market value, up to
description:
Line from                                                                                       any applicable statutory limit
Schedule A/B:

                                                                                              $ ____________
Brief
                                                                       $________________
                                                                                              100% of fair market value, up to
description:

                                                                                                any applicable statutory limit
Line from
Schedule A/B:

                                                                                              $ ____________
Brief
                                                                       $________________
                                                                                              100% of fair market value, up to
description:

Line from                                                                                       any applicable statutory limit
Schedule A/B:

                                                                                              $ ____________
Brief
                                                                       $________________
                                                                                              100% of fair market value, up to
description:
Line from                                                                                       any applicable statutory limit
Schedule A/B:

                                                                                              $ ____________
Brief
                                                                       $________________
                                                                                              100% of fair market value, up to
description:
                                                                                                any applicable statutory limit
Line from
Schedule A/B:

                                                                                              $ ____________
Brief
                                                                       $________________
                                                                                              100% of fair market value, up to
description:

Line from                                                                                       any applicable statutory limit
Schedule A/B:


 Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                              2      2
                                                                                                                                                  page ___ of __
            18-16305-jps               Doc 1         FILED 10/19/18             ENTERED 10/19/18 13:25:43                          Page 23 of 67
 Fill in this information to identify your case:

                    Christopher Mark Harris
 Debtor 1          __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Ohio District of __________
                                                                                           (State)

                                                                                                                                                        Check if this is an
 Case number         ___________________________________________
 (If known)
                                                                                                                                                           amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).



    
1. Do any creditors have claims secured by your property?


    
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
    ✔       Yes. Fill in all of the information below.


Pa rt 1 :       List All Se c ure d Cla im s
                                                                                                                           Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                         Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                      that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                   claim                 If any

2.1 Credit Acceptance                                      Describe the property that secures the claim:                   $_________________
                                                                                                                             12,655.55        $________________
                                                                                                                                                 6,800.00       $____________
                                                                                                                                                                  5,855.55
     ______________________________________                2013 Chrysler Sedan 200 - $6,800.00
     Creditor’s Name
      25505 West Twelve Mile Road
     ______________________________________
     Number            Street

      #300
     ______________________________________                As of the date you file, the claim is: Check all that apply.
                                                           
                                                           
      Southfield            MI   48034                          Contingent
     ______________________________________

                                                           
     City                          State   ZIP Code             Unliquidated
  Who owes the debt? Check one.                                 Disputed
  ✔

  
        Debtor 1 only                                      Nature of lien. Check all that apply.
                                                           
  
        Debtor 2 only                                      ✔    An agreement you made (such as mortgage or secured

  
        Debtor 1 and Debtor 2 only
                                                           
                                                                car loan)
        At least one of the debtors and another
                                                           
                                                                Statutory lien (such as tax lien, mechanic’s lien)

  
                                                           
                                                                Judgment lien from a lawsuit
     Check if this claim relates to a
     community debt                                             Other (including a right to offset) ____________________
                            8/14/2018
  Date debt was incurred ____________                      Last 4 digits of account number
2.2 Ditech Financial LLC                                   Describe the property that secures the claim:                   $_________________
                                                                                                                             65,000.00        $________________
                                                                                                                                                 76,010.00      $____________
                                                                                                                                                                  0.00
     ______________________________________                412 Erie Road - $76,010.00
     Creditor’s Name
     345 St Peters St, #600
     ______________________________________
     Number            Street

     ______________________________________
                                                           As of the date you file, the claim is: Check all that apply.
      Saint Paul            MN             55102           
                                                           
     ______________________________________                     Contingent
     City                          State   ZIP Code

                                                           
                                                                Unliquidated
  Who owes the debt? Check one.                                 Disputed
  
  
        Debtor 1 only                                      Nature of lien. Check all that apply.
                                                           
  
        Debtor 2 only
                                                                An agreement you made (such as mortgage or secured

  
        Debtor 1 and Debtor 2 only
                                                           
                                                                car loan)
        At least one of the debtors and another
                                                           
                                                                Statutory lien (such as tax lien, mechanic’s lien)

  
                                                           
     Check if this claim relates to a                           Judgment lien from a lawsuit
     community debt                                             Other (including a right to offset) ____________________
                            4/05/2005
  Date debt was incurred ____________                      Last 4 digits of account number
       Add the dollar value of your entries in Column A on this page. Write that number here:                              $_________________
                                                                                                                             77,655.55

   Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of ___
                                                                                                                                                                        1
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              Christopher Mark Harris
Debtor 1       _______________________________________________________                          Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code


  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___
                                                                                                                                                   1 of ___
                                                                                                                                                        1
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  Fill in this information to identify your case:

                           Christopher Mark Harris
      Debtor 1           __________________________________________________________________
                          First Name                    Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                    Middle Name              Last Name




                                                                                                                                                         Check if this is an
      United States Bankruptcy Court for the: ______________________
                                              Northern District of Ohio District of __________
                                                                                             (State)
      Case number         ___________________________________________
      (If known)                                                                                                                                            amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who H a ve U nse c ure d Cla im s                                                                                                        12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :             List All of Y our PRIORI T Y Unse c ure d Cla im s


         
 1. Do any creditors have priority unsecured claims against you?


          Yes.
         ✔ No. Go to Part 2.



 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                        Total claim    Priority     Nonpriority
                                                                                                                                                       amount       amount
2.1
                                                                        Last 4 digits of account number                            $_____________ $___________ $____________
           ____________________________________________
           Priority Creditor’s Name
                                                                        When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                 As of the date you file, the claim is: Check all that apply.
                                                                        
                                                                        
           ____________________________________________                     Contingent
           City                                 State    ZIP Code

                                                                        
                                                                            Unliquidated

           
           Who incurred the debt? Check one.                                Disputed

           
                  Debtor 1 only                                         Type of PRIORITY unsecured claim:
                                                                        
           
                  Debtor 2 only                                             Domestic support obligations
                                                                        
           
                  Debtor 1 and Debtor 2 only                                Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                        
           
                                                                            Claims for death or personal injury while you were
                                                                            intoxicated
                                                                        
                  Check if this claim is for a community debt
                                                                            Other. Specify
           Is the claim subject to offset?
           
           
                  No
                  Yes
2.2
                                                                        Last 4 digits of account number                                $_____________ $___________ $____________
            ____________________________________________
            Priority Creditor’s Name                                    When was the debt incurred?          ____________
            ____________________________________________
            Number           Street                                     As of the date you file, the claim is: Check all that apply.
            ____________________________________________                
                                                                        
                                                                            Contingent


                                                                        
            ____________________________________________                    Unliquidated
            City                                State    ZIP Code
                                                                            Disputed

           
            Who incurred the debt? Check one.

           
                   Debtor 1 only                                        Type of PRIORITY unsecured claim:
                                                                        
           
                   Debtor 2 only                                            Domestic support obligations
                                                                        
           
                   Debtor 1 and Debtor 2 only                               Taxes and certain other debts you owe the government
                   At least one of the debtors and another
                                                                        
           
                                                                            Claims for death or personal injury while you were
                                                                            intoxicated
                                                                        
                   Check if this claim is for a community debt
                                                                            Other. Specify
           Is the claim subject to offset?
           
           
                   No
                   Yes

 Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of ___
                                                                                                                                                                        7
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                       Christopher Mark Harris
 Debtor 1             _______________________________________________________                             Case number (if known)_____________________________________
                      First Name       Middle Name             Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims



        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          Advance America Corp. Office                                                                                                                          Total claim
4.1
                                                                                      Last 4 digits of account number
         _____________________________________________________________                                                                                          1,000.00
                                                                                                                                                              $__________________
         Nonpriority Creditor’s Name
                                                                                      When was the debt incurred?           ____________
                                                                                                                            2017
          135 North Church Street
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                      As of the date you file, the claim is: Check all that apply.
         Spartanburg                         SC       29306                           
                                                                                      
         _____________________________________________________________                    Contingent
         City                                             State            ZIP Code

                                                                                      
                                                                                          Unliquidated

         
         Who incurred the debt? Check one.                                                Disputed

         
         ✔      Debtor 1 only
                                                                                      Type of NONPRIORITY unsecured claim:
                                                                                     
                Debtor 2 only

                                                                                      
                                                                                          Student loans
         
                Debtor 1 and Debtor 2 only
                At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce

                                                                                     
                                                                                          that you did not report as priority claims


                                                                                      
                Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                      ✔   Other. Specify Payday Loan
         Is the claim subject to offset?
         
         
         ✔      No
                Yes
4.2
         Avant                                                                        Last 4 digits of account number                                          8,987.00
                                                                                                                                                              $__________________
         _____________________________________________________________                When was the debt incurred?           ____________
         Nonpriority Creditor’s Name
         Edit 222 N LaSalle St
         _____________________________________________________________
         Number            Street
                                                                                      As of the date you file, the claim is: Check all that apply.

                                                                                      
         #1700
         _______________________________________________________________________

                                                                                      
                                                                                          Contingent
          Chicago                                         IL
                                                      60601
         _____________________________________________________________

                                                                                      
                                                                                          Unliquidated
         City                                             State            ZIP Code

         
         Who incurred the debt? Check one.                                                Disputed

         
         ✔      Debtor 1 only
                                                                                      Type of NONPRIORITY unsecured claim:
                                                                                      
         
                Debtor 2 only

                                                                                      
                                                                                          Student loans

         
                Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
                At least one of the debtors and another
                                                                                      
                                                                                          that you did not report as priority claims

         
                                                                                      
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
                Check if this claim is for a community debt
                                                                                      ✔   Other. Specify Monies Loaned / Advanced
         Is the claim subject to offset?
         
         
         ✔      No
                Yes
          Firelands Community Hospital
4.3
                                                                                      Last 4 digits of account number       CVF9400081
         _____________________________________________________________                                                                                         1,764.00
                                                                                                                                                              $_________________
         Nonpriority Creditor’s Name                                                  When was the debt incurred?           4/1994
                                                                                                                            ____________
         1101 Decatur Street
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                      As of the date you file, the claim is: Check all that apply.
         Sandusky                            OH       44870                           
                                                                                      
         _____________________________________________________________                    Contingent
         City                                             State            ZIP Code

                                                                                      
         Who incurred the debt? Check one.                                                Unliquidated

                                                                                         Disputed

         
                Debtor 1 only
                                                                                      Type of NONPRIORITY unsecured claim:
                                                                                     
                Debtor 2 only


                                                                                      
                                                                                          Student loans
         
         ✔      Debtor 1 and Debtor 2 only
                At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce

                                                                                     
                                                                                          that you did not report as priority claims
                Check if this claim is for a community debt
                                                                                      
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                      ✔   Other. Specify Medical Services
         Is the claim subject to offset?
         
         
         ✔ No

                Yes


      Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
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                      Christopher Mark Harris
 Debtor 1            _______________________________________________________                            Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims



       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.4     Ford Motor Credit
       _____________________________________________________________                Last 4 digits of account number       5381
       Nonpriority Creditor’s Name                                                                                                                            41,890.00
                                                                                                                                                            $__________________
        P.O. Box 542000                                                             When was the debt incurred?           ____________
                                                                                                                          8/2016
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.

                                                                                    
        Omaha                                            NE
       _____________________________________________________________
                                                                        68154

                                                                                    
       City                                              State          ZIP Code        Contingent


                                                                                    
                                                                                        Unliquidated
       Who incurred the debt? Check one.
       
                                                                                        Disputed

       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
                                                                                    
       
               Debtor 2 only

                                                                                    
                                                                                        Student loans

       
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another
                                                                                    
                                                                                        that you did not report as priority claims

       
                                                                                    
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
               Check if this claim is for a community debt
                                                                                    ✔   Other. Specify Auto Loan Deficiency
       Is the claim subject to offset?
       
       
       ✔       No
               Yes
4.5     Ford Motor Credit Company                                                   Last 4 digits of account number       5128                               10,796.00
                                                                                                                                                            $__________________
       _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                          1/2015
       Nonpriority Creditor’s Name
        P.O. Box 542000
       _____________________________________________________________
       Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.

                                                                                    
       _______________________________________________________________________


                                                                                    
       Omaha                               NE       68154                               Contingent
       _____________________________________________________________

                                                                                    
       City                                              State          ZIP Code        Unliquidated

       
       Who incurred the debt? Check one.                                                Disputed

       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:

                                                                                   
               Debtor 2 only

                                                                                    
                                                                                        Student loans

       
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another

                                                                                    
                                                                                        that you did not report as priority claims
       
                                                                                    
               Check if this claim is for a community debt                              Debts to pension or profit-sharing plans, and other similar debts
                                                                                    ✔   Other. Specify Auto Lease Deficiency
       Is the claim subject to offset?
       
       
       ✔       No
               Yes
4.6     Ford Services/Citi                                                          Last 4 digits of account number       0958
        _____________________________________________________________                                                                                        866.00
                                                                                                                                                            $_________________
        Nonpriority Creditor’s Name                                                 When was the debt incurred?           1/2015
                                                                                                                          ____________
        P.O. Box 6497
        _____________________________________________________________
        Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Sioux Falls                         SD       57117                          
                                                                                    
        _____________________________________________________________                   Contingent
        City                                             State           ZIP Code

                                                                                    
        Who incurred the debt? Check one.                                               Unliquidated

                                                                                       Disputed

       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
       
               Debtor 2 only
                                                                                    
       
               Debtor 1 and Debtor 2 only
                                                                                    
                                                                                        Student loans
               At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce

                                                                                   
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt
                                                                                    
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              ✔   Other. Specify Credit Card Debt
       
       
       ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
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                      Christopher Mark Harris
 Debtor 1            _______________________________________________________                            Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims



       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.7     Green Sky
       _____________________________________________________________                Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                            3,873.00
                                                                                                                                                            $__________________
        P.O. Box 29429                                                              When was the debt incurred?           ____________
                                                                                                                          2/27/2015
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.

                                                                                    
        Atlanta                                          GA
       _____________________________________________________________
                                                                        30359

                                                                                    
       City                                              State          ZIP Code        Contingent


                                                                                    
                                                                                        Unliquidated
       Who incurred the debt? Check one.
       
                                                                                        Disputed

       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
                                                                                    
       
               Debtor 2 only

                                                                                    
                                                                                        Student loans

       
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another
                                                                                    
                                                                                        that you did not report as priority claims

       
                                                                                    
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
               Check if this claim is for a community debt
                                                                                    ✔   Other. Specify Monies Loaned / Advanced
       Is the claim subject to offset?
       
       
       ✔       No
               Yes
4.8     Northcoast Orthopedic                                                       Last 4 digits of account number                                          295.00
                                                                                                                                                            $__________________
       _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                          2015
       Nonpriority Creditor’s Name
        15900 Snow Rd # 400,
       _____________________________________________________________
       Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.

                                                                                    
       _______________________________________________________________________


                                                                                    
       Brookpark                           OH       44142                               Contingent
       _____________________________________________________________

                                                                                    
       City                                              State          ZIP Code        Unliquidated

       
       Who incurred the debt? Check one.                                                Disputed

       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:

                                                                                   
               Debtor 2 only

                                                                                    
                                                                                        Student loans

       
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another

                                                                                    
                                                                                        that you did not report as priority claims
       
                                                                                    
               Check if this claim is for a community debt                              Debts to pension or profit-sharing plans, and other similar debts
                                                                                    ✔   Other. Specify Medical Services
       Is the claim subject to offset?
       
       
       ✔       No
               Yes
4.9     One Maine                                                                   Last 4 digits of account number       3808
        _____________________________________________________________                                                                                        15,022.00
                                                                                                                                                            $_________________
        Nonpriority Creditor’s Name                                                 When was the debt incurred?           11/2017
                                                                                                                          ____________
        P.O. Box 1010
        _____________________________________________________________
        Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Evansville                          IN       47706                          
                                                                                    
        _____________________________________________________________                   Contingent
        City                                             State           ZIP Code

                                                                                    
        Who incurred the debt? Check one.                                               Unliquidated

                                                                                       Disputed

       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
       
               Debtor 2 only
                                                                                    
       
               Debtor 1 and Debtor 2 only
                                                                                    
                                                                                        Student loans
               At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce

                                                                                   
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt
                                                                                    
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              ✔   Other. Specify Monies Loaned / Advanced
       
       
       ✔       No
               Yes


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                       Christopher Mark Harris
 Debtor 1             _______________________________________________________                            Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims



        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.10 Sandusky Anesthesiologist                                                                                             CVF9800002
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            489.00
                                                                                                                                                             $__________________
         703 Tyler Street                                                            When was the debt incurred?           ____________
                                                                                                                           1998
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.

                                                                                     
         Sandusky                                         OH
        _____________________________________________________________
                                                                         44870

                                                                                     
        City                                              State          ZIP Code        Contingent


                                                                                     
                                                                                         Unliquidated
        Who incurred the debt? Check one.
        
                                                                                         Disputed

        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
                                                                                     
        
                Debtor 2 only

                                                                                     
                                                                                         Student loans

        
                Debtor 1 and Debtor 2 only
                                                                                         Obligations arising out of a separation agreement or divorce
                At least one of the debtors and another
                                                                                     
                                                                                         that you did not report as priority claims

        
                                                                                     
                                                                                         Debts to pension or profit-sharing plans, and other similar debts
                Check if this claim is for a community debt
                                                                                     ✔   Other. Specify Medical Services
        Is the claim subject to offset?
        
        
        ✔       No
                Yes
4.11 VCSO Ohio Ohio, Inc.                                                            Last 4 digits of account number       5270                               1,276.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                           4/12/2017
        Nonpriority Creditor’s Name
         4490 Liberty Avenue
        _____________________________________________________________
        Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.

                                                                                     
        _______________________________________________________________________


                                                                                     
        Vermilion                           OH       44089                               Contingent
        _____________________________________________________________

                                                                                     
        City                                              State          ZIP Code        Unliquidated

        
        Who incurred the debt? Check one.                                                Disputed

        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:

                                                                                    
                Debtor 2 only

                                                                                     
                                                                                         Student loans

        
                Debtor 1 and Debtor 2 only
                                                                                         Obligations arising out of a separation agreement or divorce
                At least one of the debtors and another

                                                                                     
                                                                                         that you did not report as priority claims
        
                                                                                     
                Check if this claim is for a community debt                              Debts to pension or profit-sharing plans, and other similar debts
                                                                                     ✔   Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
        
        
        ✔       No
                Yes
4.12     William Mirando MD                                                          Last 4 digits of account number       255
         _____________________________________________________________                                                                                        94.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           2014
                                                                                                                           ____________
         201 N Leavitt Rd
         _____________________________________________________________
         Number             Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Amherst                             OH       44001                          
                                                                                     
         _____________________________________________________________                   Contingent
         City                                             State           ZIP Code

                                                                                     
         Who incurred the debt? Check one.                                               Unliquidated

                                                                                        Disputed

        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
        
                Debtor 2 only
                                                                                     
        
                Debtor 1 and Debtor 2 only
                                                                                     
                                                                                         Student loans
                At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce

                                                                                    
                                                                                         that you did not report as priority claims
                Check if this claim is for a community debt
                                                                                     
                                                                                         Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              ✔   Other. Specify Medical Services
        
        
        ✔       No
                Yes


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                 Christopher Mark Harris
Debtor 1        _______________________________________________________                          Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      FFCC                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      24700 Chagrin Blvd                                                        4.12 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                           Last 4 digits of account number
      Beachwood                             OH   44122
     _____________________________________________________
     City                                   State               ZIP Code

      Fidelity Collection                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      855 South Sawburg Ave, #103                                                4.8 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

      Alliance                        OH         44601
     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code

      Vermilion Municipal Court
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      687 Decatur Street                                                        4.10 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

     Vermilion                        OH         44089
     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code

      Vermilion Municipal Court
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      687 Decatur Street                                                         4.3 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

      Vermilion                       OH         44089
     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
     Number          Street

     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
     Number          Street

     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                 Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     Number          Street

     _____________________________________________________                 Claims

     _____________________________________________________
     City                                   State               ZIP Code
                                                                           Last 4 digits of account number


  Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              page __
                                                                                                                                                         6 of ___
                                                                                                                                                               7
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               Christopher Mark Harris
Debtor 1       _______________________________________________________                      Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Pa rt 4 :    Add t he Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.                         0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.                         0.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.                         0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                                           0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                           0.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.                          0.00
Total claims                                                                            $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.
                                                                                                            0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.                          0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                                     86,352.00


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                      86,352.00
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                      page __
                                                                                                                                                  7 of ___
                                                                                                                                                        7
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 Fill in this information to identify your case:

                       Christopher Mark Harris
 Debtor               __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


 United States Bankruptcy Court for the:______________________
                                        Northern District of Ohio District of ________
                                                                                  (State)

                                                                                                                                         Check if this is an
 Case number           ___________________________________________
  (If known)
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      ✔    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                                 State what the contract or lease is for


2.1                                                                                         Attorney for Divorce
       Attorney Jonathan Rosenbaum
      _____________________________________________________________________
      Name
       230 Third Street                                     #101
      _____________________________________________________________________
      Street
       Elyria                      OH                 44035
      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
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 Fill in this information to identify your case:

                     Christopher Mark Harris
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name                 Last Name

 Debtor 2               ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:_______________________
                                         Northern District of Ohio District of ________
                                                                                               (State)


                                                                                                                                                  Check if this is an
 Case number            ____________________________________________
  (If known)

                                                                                                                                                    amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                              12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
      
      ✔    Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      
      ✔    No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           
           
                   No
                   Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                   ______________________________________________________________________
                   Number            Street

                   ______________________________________________________________________
                   City                                             State                        ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                               Check all schedules that apply:


                                                                                                               
3.1       Janice Harris
         ________________________________________________________________________________                          Schedule D, line ______
                                                                                                               
         Name
          412 Erie Road                                                                                        ✔                      4.9
                                                                                                                   Schedule E/F, line ______
                                                                                                               
         ________________________________________________________________________________
          Street                                                                                                   Schedule G, line ______
          Vermilion                                OH                       44089
         ________________________________________________________________________________
         City                                                          State                        ZIP Code


                                                                                                               
3.2       Janice Harris
         ________________________________________________________________________________                          Schedule D, line ______
                                                                                                               
         Name
         412 Erie Road                                                                                         ✔                      4.5
                                                                                                                   Schedule E/F, line ______
                                                                                                               
         ________________________________________________________________________________
          Street                                                                                                   Schedule G, line ______
          Vermilion                                OH                       44089
         ________________________________________________________________________________
         City                                                          State                        ZIP Code


                                                                                                               
3.3       Janice Harris
         ________________________________________________________________________________                          Schedule D, line ______
                                                                                                               
         Name
          412 Erie Road                                                                                        ✔                       4.6
                                                                                                                   Schedule E/F, line ______
                                                                                                               
         ________________________________________________________________________________
          Street                                                                                                   Schedule G, line ______
          Vermilion                                OH                       44089
         ________________________________________________________________________________
         City                                                          State                        ZIP Code



Official Form 106H                                                             Schedule H: Your Codebtors                                             page 1 of ___
                                                                                                                                                                 2
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                 Christopher Mark Harris
Debtor 1        _______________________________________________________                   Case number (if known)_____________________________________
                First Name    Middle Name       Last Name




                Addit iona l Pa ge t o List M ore Code bt ors

      Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                Check all schedules that apply:
3._
  4
                                                                                                
       Janice Harris
       ________________________________________________________________________________             Schedule D, line ______
                                                                                                
       Name
                                                                                                ✔                      4.4
                                                                                                    Schedule E/F, line ______
                                                                                                
       412 Erie Road
       ________________________________________________________________________________
       Street                                                                                       Schedule G, line ______
       Vermilion                                      OH                      44089
       ________________________________________________________________________________
       City                                          State                   ZIP Code


                                                                                                
3._
  5    Janice Harris
       ________________________________________________________________________________         ✔                    2.2
                                                                                                    Schedule D, line ______
                                                                                                
       Name
                                                                                                    Schedule E/F, line ______
                                                                                                
       412 Erie Road
       ________________________________________________________________________________
       Street                                                                                       Schedule G, line ______
       Vermilion                                      OH                      44089
       ________________________________________________________________________________
       City                                          State                   ZIP Code


                                                                                                
3._
       ________________________________________________________________________________             Schedule D, line ______
                                                                                                
       Name
                                                                                                    Schedule E/F, line ______
                                                                                                
       ________________________________________________________________________________
       Street
                                                                                                    Schedule G, line ______

       ________________________________________________________________________________
       City                                          State                   ZIP Code



                                                                                                
3._
       ________________________________________________________________________________             Schedule D, line ______
                                                                                                
       Name
                                                                                                    Schedule E/F, line ______
                                                                                                
       ________________________________________________________________________________
                                                                                                    Schedule G, line ______
       Street

       ________________________________________________________________________________
       City                                          State                   ZIP Code


                                                                                                
3._
       ________________________________________________________________________________             Schedule D, line ______
                                                                                                
       Name
                                                                                                    Schedule E/F, line ______
                                                                                                
       ________________________________________________________________________________
       Street                                                                                       Schedule G, line ______

       ________________________________________________________________________________
       City                                          State                   ZIP Code


                                                                                                
3._
       ________________________________________________________________________________             Schedule D, line ______
                                                                                                
       Name
                                                                                                    Schedule E/F, line ______
                                                                                                
       ________________________________________________________________________________
       Street
                                                                                                    Schedule G, line ______

       ________________________________________________________________________________
       City                                          State                   ZIP Code


                                                                                                
3._
       ________________________________________________________________________________             Schedule D, line ______
                                                                                                
       Name
                                                                                                    Schedule E/F, line ______
                                                                                                
       ________________________________________________________________________________
       Street                                                                                       Schedule G, line ______

       ________________________________________________________________________________
       City                                          State                   ZIP Code
3._
       ________________________________________________________________________________            Schedule D, line ______
                                                                                                
       Name
                                                                                                    Schedule E/F, line ______
                                                                                                
       ________________________________________________________________________________
                                                                                                    Schedule G, line ______
       Street

       ________________________________________________________________________________
       City                                          State                   ZIP Code




  Official Form 106H                                         Schedule H: Your Codebtors                                              page ___  2
                                                                                                                                          2 of ___
              18-16305-jps           Doc 1     FILED 10/19/18            ENTERED 10/19/18 13:25:43                     Page 35 of 67
 Fill in this information to identify your case:

                      Christopher Mark Harris
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name              Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name              Last Name


 United States Bankruptcy Court for the: ______________________
                                          Northern District of Ohio District
                                                                                   tate)
 Case number         ___________________________________________                                       Check if this is:
                                                                                                        An amended filing
  (If known)


                                                                                                        A supplement showing postpetition chapter 13
                                                                                                          income as of the following date:
                                                                                                          ________________
Official Form 106I                                                                                        MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                           Debtor 1                                     Debtor 2 or non-filing spouse

    If you have more than one job,
                                                                                                                       
    attach a separate page with                                         ✔ Employed
                                                                         Not employed                                  
    information about additional         Employment status                                                                  Employed
    employers.                                                                                                          ✔   Not employed
    Include part-time, seasonal, or
    self-employed work.                                                  Police Officer
                                         Occupation                    __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.                                        City of Lorain Police
                                         Employer’s name
                                                                        Department
                                                                      __________________________________             __________________________________


                                         Employer’s address              100 West Erie Avenue
                                                                      _______________________________________      ________________________________________
                                                                       Number Street                                Number    Street

                                                                      _______________________________________      ________________________________________

                                                                      _______________________________________      ________________________________________

                                                                         Lorain, OH 44052
                                                                      _______________________________________      ________________________________________
                                                                       City            State  ZIP Code               City                State ZIP Code

                                          How long employed there?________________________
                                                                   23 years                                          ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                  For Debtor 1       For Debtor 2 or
                                                                                                                     non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.           2.       5,049.05
                                                                                                 $___________           $____________

 3. Estimate and list monthly overtime pay.                                                3.   + $___________
                                                                                                          0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                           4.       5,049.05
                                                                                                 $__________            $____________




Official Form 106I                                                Schedule I: Your Income                                                       page 1
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Debtor 1
                 Christopher   Mark Harris
                 _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.        5,049.05
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.          645.84
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.          618.52
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.          307.65
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                               45.24
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
                                     AFLAC
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                25.39         +   $_____________
    _____________________________________________________________
                                                                                                                                 0.00
                                                                                                                         $____________            $____________
    _____________________________________________________________                                                               0.00
                                                                                                                         $____________            $____________
    _____________________________________________________________                                                               0.00
                                                                                                                         $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.        1,642.64
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.        3,406.41
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                       0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                      0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
                                                                                                                                                         0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            3,406.41
                                                                                                                         $___________     +               0.00
                                                                                                                                                  $_____________      =      3,406.41
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             3,406.41
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income

      
13. Do you expect an increase or decrease within the year after you file this form?
      ✔
      
           No.
           Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
            18-16305-jps                    Doc 1            FILED 10/19/18                       ENTERED 10/19/18 13:25:43                            Page 37 of 67
  Fill in this information to identify your case:

                     Christopher Mark Harris
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
                                                                                                               An amended filing
                                                                                                               A supplement showing postpetition chapter 13
  (Spouse, if filing) First Name              Middle Name                 Last Name

                                          Northern District of Ohio
  United States Bankruptcy Court for the: ______________________    District of __________
                                                                                      (State)
                                                                                                                  expenses as of the following date:
                                                                                                                  ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   
   ✔ No. Go to line 2.
    Yes. Does Debtor 2 live in a separate household?
               
               
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                   No
                                            
                                                                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 ✔ Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?

                                                                                                                                                  
   Debtor 2.                                    each dependent..........................
                                                                                                                                                  ✔ No
                                                                                                                                                   Yes
   Do not state the dependents’                                                             Son
                                                                                           _________________________                 16
                                                                                                                                    ________
   names.
                                                                                                                                                  
                                                                                                                                                  ✔ No
                                                                                                                                                   Yes
                                                                                            Daughter
                                                                                           _________________________                 25
                                                                                                                                    ________

                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                           _________________________                ________

                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                           _________________________                ________

                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                           _________________________                ________


3. Do your expenses include
                                            
                                            
                                                No
   expenses of people other than
   yourself and your dependents?                Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                    250.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                       0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                       0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                      0.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                              page 1

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                    Christopher Mark Harris
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                        0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                     291.00
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                     129.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     125.00
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                     450.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                        0.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                     150.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                     120.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                        0.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                     255.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                     100.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                        0.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.   $_____________________
                                                                                                                                        0.00
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                     141.00
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                        0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                       16.
                                                                                                                                       0.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                     339.47
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                        0.00
        17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                        0.00
        17d. Other. Specify:_______________________________________________                                     17d.   $_____________________
                                                                                                                                        0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.               1,000.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2

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                   Christopher Mark Harris
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 3,350.47
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 3,350.47
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       3,406.41
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 3,350.47
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                     55.94
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3

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Fill in this information to identify your case:

Debtor 1           Christopher Mark Harris
                  __________________________________________________________________
                    First Name                Middle Name           Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                Middle Name           Last Name


                                        ______________________
United States Bankruptcy Court for the:Northern District of Ohio District of __________
                                                                                (State)
Case number         ___________________________________________

                                                                                                                                          Check if this is an
(If known)


                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

            No
       
       ✔

             Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Christopher Mark Harris
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              10/19/2018
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                      Declaration About an Individual Debtor’s Schedules

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 Fill in this information to identify your case:

 Debtor 1          Christopher Mark Harris
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: Northern
                                          ______________________
                                                  District of Ohio District of ______________
                                                                             (State)


                                                                                                                                         Check if this is an
 Case number         ___________________________________________
  (If known)
                                                                                                                                           amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                          4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


      
       Not married
      ✔ Married




 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     
           No
     ✔     Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                         Dates Debtor 1        Debtor 2:                                             Dates Debtor 2
                                                                 lived there                                                                 lived there

                                                                                        Same as Debtor 1                                      Same as Debtor 1

                412 Erie Road
               __________________________________________       From 02/1993
                                                                     ________             ___________________________________________           From ________
                Number     Street                                                         Number Street
                                                                To       __________
                                                                         02/2018                                                                To      ________
               __________________________________________                                 ___________________________________________

               Vermilion                OH 44089
               __________________________________________                                 ___________________________________________
               City                     State ZIP Code                                    City                     State ZIP Code


                                                                                        Same as Debtor 1                                      Same as Debtor 1


               __________________________________________       From     ________         ___________________________________________           From ________
                Number    Street                                                          Number Street
                                                                To       ________                                                               To      ________
               __________________________________________                                 ___________________________________________

               __________________________________________                                 ___________________________________________
               City                     State ZIP Code                                    City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No
     
     ✔

           Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 1


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Debtor 1        Christopher Mark Harris
                _______________________________________________________                                      Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     
     
           No
     ✔     Yes. Fill in the details.

                                                                Debtor 1                                              Debtor 2

                                                                Sources of income            Gross income             Sources of income            Gross income
                                                                Check all that apply.        (before deductions and   Check all that apply.        (before deductions and
                                                                                             exclusions)                                           exclusions)


            From January 1 of current year until
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                                             $________________                                    $________________
                                                                                                                     
                                                                    bonuses, tips             49,240.94                   bonuses, tips
            the date you filed for bankruptcy:
                                                                    Operating a business                                  Operating a business


            For last calendar year:
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,

                                                                                                                     
                                                                    bonuses, tips            $________________
                                                                                              53,838.05                   bonuses, tips           $________________
            (January 1 to December 31, _________)
                                       2017                         Operating a business                                  Operating a business
                                              YYYY



            For the calendar year before that:                  
                                                                ✔   Wages, commissions,                                  Wages, commissions,

                                                                                                                     
                                                                    bonuses, tips                                         bonuses, tips
                                                                                             $________________
                                                                                              52,326.53                                           $________________
            (January 1 to December 31, _________)
                                       2016                         Operating a business                                  Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     
     ✔     No
           Yes. Fill in the details.

                                                     Debtor 1                                                          Debtor 2

                                                     Sources of income             Gross income from                   Sources of income           Gross income from
                                                     Describe below.               each source                         Describe below.             each source
                                                                                   (before deductions and                                          (before deductions and
                                                                                   exclusions)                                                     exclusions)


                                        _________________________                  $________________          _________________________           $________________
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________           $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________           $_________________


                                         _________________________ $________________                           _________________________          $________________
For last calendar year:
                                         _________________________ $________________                           _________________________          $________________
(January 1 to
                                         _________________________ $_________________                          _________________________          $_________________
December 31, _________)


For the calendar year                    _________________________ $________________                           _________________________          $________________
before that:                             _________________________ $________________                           _________________________          $________________
(January 1 to                            _________________________ $_________________                          _________________________          $_________________
December 31, _________)




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2


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Debtor 1       Christopher Mark Harris
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

     
     ✔     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

               
               ✔    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      Credit Acceptance
                      ____________________________________           _________
                                                                     10/18          $_________________
                                                                                     678.94            $__________________
                                                                                                        12,655.55                        Mortgage
                                                                                                                                        
                      Creditor’s Name
                                                                                                                                        ✔ Car
                                                                     _________
                                                                                                                                         Credit card
                      ____________________________________
                      25505 West Twelve Mile Road                    9/2018

                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      #300                                           _________

                      ____________________________________
                      Southfield
                      City
                                        MI       48034
                                              State       ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________           _________                                                           Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________           _________

                      ____________________________________                                                                               Other ______________
                      City                    State       ZIP Code




                      ____________________________________           _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________           _________                                                           Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________           _________

                      ____________________________________                                                                               Other _______________
                      City                    State       ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3


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Debtor 1            Christopher Mark Harris
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     
     ✔     No
           Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________              _________      $____________ $____________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     
     ✔     No
           Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4


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Debtor 1          Christopher   Mark Harris
                  _______________________________________________________                                        Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     
     
           No
     ✔     Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                 Status of the case
                                                                    Divorce; Date filed: 01/25/2018
                                                                                                                                                          
                  Janice Harris vs Christopher Harris
    Case title:                                                                                            Lorain County Common Pleas Court
                                                                                                          ________________________________________        ✔   Pending

                                                                                                                                                          
                                                                                                          Court Name
                                                                                                                                                              On appeal

                                                                                                                                                          
                                                                                                          225 Court Street
                                                                                                          ________________________________________
                                                                                                          Number    Street                                    Concluded

                                                                                                           Elyria            OH     44035
                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number 18DU084012
                ________________________
                                                                    Repossession: Ford F150 Truck
                                                                                                          ________________________________________
                                                                                                           Ford Motor Credit
                                                                                                                                                             Pending

                                                                                                                                                          
                                                                                                          Court Name
    Case title:
                                                                                                                                                              On appeal

                                                                                                                                                          
                                                                                                          P.O. Box 542000
                                                                                                          ________________________________________
                                                                                                          Number    Street                                ✔   Concluded

                                                                                                           Omaha             NE     68154
                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     
           No. Go to line 11.
     ✔     Yes. Fill in the information below.

                                                                                Describe the property                                     Date          Value of the property
                                                                               Ford F150 Truck
                   Ford Motor Credit Company                                                                                                              Unknown
                   _________________________________________                                                                              __________
                                                                                                                                          06/01/2018     $______________
                   Creditor’s Name

                    P.O. Box 542000
                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                
                                                                                ✔    Property was repossessed.
                                                                                
                   _________________________________________
                                                                                     Property was foreclosed.
                                                                                    Property was garnished.
                                                                                
                   Omaha                  NE    68154
                   _________________________________________
                   City                               State   ZIP Code               Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                        Property was repossessed.
                                                                                    Property was foreclosed.
                   _________________________________________                        Property was garnished.
                                                                                
                   City                               State   ZIP Code
                                                                                     Property was attached, seized, or levied.



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5


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Debtor 1          Christopher Mark Harris
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     
     ✔     No
           Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     
     ✔     No
           Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     
     ✔     No
           Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6


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Debtor 1            Christopher Mark Harris
                    _______________________________________________________                                     Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     
     ✔     No
           Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔
     
           No
           Yes. Fill in the details.

             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     
     
           No
     ✔     Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             William Balena, Esq
             Person Who Was Paid
                                                                   Attorney Fees
             ___________________________________
             30400 Detroit Road 106
             Number       Street                                                                                                         _________
                                                                                                                                         05/2018             $_____________
                                                                                                                                                               790.00

             ___________________________________
                                                                                                                                         _________           $_____________
             ___________________________________
             Westlake            OH      44145
             City                       State    ZIP Code


              docket@ohbksource.com
             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7


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Debtor 1           Christopher Mark Harris
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     
     ✔     No
           Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     
     ✔     No
           Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8


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Debtor 1           Christopher Mark Harris
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     
     ✔     No
           Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     
     ✔     No
           Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
                                                                                                         Checking
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___                                      _________              $___________
            ____________________________________
                                                                                                         Savings
                                                                                                         Money market
            Number       Street



                                                                                                         Brokerage
            ____________________________________


                                                                                                         Other__________
            ____________________________________
            City                       State    ZIP Code




            ____________________________________                       XXXX–___ ___ ___ ___              Checking               _________              $___________
                                                                                                         Savings
            Name of Financial Institution


                                                                                                         Money market
            ____________________________________

                                                                                                         Brokerage
            Number       Street

            ____________________________________

            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for


     
     securities, cash, or other valuables?


     
     ✔  No
           Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                               
                                                                                                                                                               
                                                                                                                                                                   No
            ____________________________________                  _______________________________________
            Name of Financial Institution                                                                                                                          Yes
                                                                  Name

            ____________________________________                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9


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Debtor 1            Christopher Mark Harris
                    _______________________________________________________                                              Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




    
22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?


    
    ✔      No
           Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?

                                                                                                                                                                            No
                                                                                                                                                                            Yes
             ___________________________________                     _______________________________________
             Name of Storage Facility                                Name

             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,


     
     or hold in trust for someone.


     
         No
     ✔     Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value
                                                                                                                             Shotgun
              City of Lorain Police Department
             ___________________________________
             Owner’s Name                                                                                                                                               150.00
                                                                                                                                                                       $__________
                                                                    4207 Pueblo Drive
                                                                   _________________________________________
              200 West Erie Avenue
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                    Lorain                OH     44053
                                                                   _________________________________________
              Lorain             OH     44052
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     
     ✔     No
           Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10


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Debtor 1           Christopher Mark Harris
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     
     ✔     No
           Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     
     ✔     No
           Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case


                                                                                                                                                                          
           Case title
                                                                    ________________________________                                                                          Pending

                                                                                                                                                                          
                                                                    Court Name
                                                                                                                                                                              On appeal

                                                                                                                                                                          
                                                                    ________________________________
                                                                    Number     Street                                                                                         Concluded


           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss


           
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?


           
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time


           
                A member of a limited liability company (LLC) or limited liability partnership (LLP)


           
                A partner in a partnership
                An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     
     
     ✔     No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______             To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______                 To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11


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Debtor 1           Christopher Mark Harris
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Describe the nature of the business                     Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                                                                            Dates business existed

            ____________________________________

                                                                    Name of accountant or bookkeeper
            ____________________________________                                                                            From     _______         To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     
           No
           Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Pa rt 1 2 :       Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           /s/ Christopher Mark Harris
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


            Date ________________
                  10/19/2018                                                         Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      
             No
      ✔      Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
           No
      
      ✔

            Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12


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               Christopher Mark Harris
 Debtor 1                                                            _                  Case number (if known)
              First Name   Middle Name      Last Name



                                                Continuation Sheet for Official Form 107
23) Property holding for another

City of Lorain Police Depa Location: 4207 Pueblo Driv Glock 45, $500.00
rtment,                    e, Lorain, OH 44053
 200 West Erie Avenue,
 Lorain, OH 44052

City of Lorain Police Depa Location: , Lorain,                                      Glock 21, $480.00
rtment, 200 West Erie,      OH 44053
 Lorain, OH 44052

City of Lorain Police,                    Location: 4207 Pueblo Driv Beanbag Shotgun, $480.00
 200 West Erie Avenue,                    e, Lorain, OH 44053
 Lorain, OH 44052

City of Lorain Police Depa Location: 4207 Pueblo Driv AR 15 issued by the Lorain
rtment,                    e, Lorain, OH 44053         City Police Department in
 200 W Erie Avenue,                                    $1,045.00
 Lorain, OH 44052




  Official Form 107                            Statement of Financial Affairs for Individuals
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Fill in this information to identify your case:

                  Christopher Mark Harris
Debtor 1          __________________________________________________________________
                    First Name              Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name                Last Name




                                                                                                                                               Check if this is an
                                        ______________________
United States Bankruptcy Court for the:Northern District of Ohio District of __________
                                                                                   (State)
Case number         ___________________________________________
 (If known)                                                                                                                                       amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                   
                                                                                       ✔ Surrender the property.                          
                                                                                                                                          ✔ No

                                                                                        Retain the property and redeem it.                Yes
          name:           Ditech Financial LLC

                                                                                        Retain the property and enter into a
         Description of          412 Erie Road
         property

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.


                                                                                             ______________________________________


         Creditor’s                                                                     Surrender the property.                          
                                                                                                                                          ✔ No

                                                                                        Retain the property and redeem it.
                           Credit Acceptance
                                                                                                                                           Yes
         name:

                                                                                       
         Description of          2013 Chrysler Sedan 200
                                                                                       ✔ Retain the property and enter into a
         property

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.


                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
                                                                                        Retain the property and redeem it.                Yes
         name:

                                                                                        Retain the property and enter into a
         Description of
         property

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.


                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
                                                                                        Retain the property and redeem it.                Yes
         name:

         Description of
         property                                                                       Retain the property and enter into a

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.


                                                                                             ______________________________________


  Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
                18-16305-jps             Doc 1        FILED 10/19/18                  ENTERED 10/19/18 13:25:43                      Page 55 of 67
                     Christopher Mark Harris
Debtor              ______________________________________________________                   Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

         Lessor’s name:       Attorney Jonathan Rosenbaum                                                            No
                                                                                                                     Yes
         Description of leased
         property: Attorney for      Divorce

         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
         Description of leased                                                                                       Yes
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ Christopher Mark Harris
         ___________________________________________             ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             10/19/2018
     Date _________________                                        Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




 Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                          page 2
             18-16305-jps              Doc 1     FILED 10/19/18              ENTERED 10/19/18 13:25:43                  Page 56 of 67
 Fill in this information to identify your case:                                                        Check one box only as directed in this form and in
                                                                                                        Form 122A-1Supp:
                    Christopher Mark Harris
                                                                                                        
 Debtor 1          __________________________________________________________________
                     First Name              Middle Name                 Last Name
                                                                                                        ■   1. There is no presumption of abuse.
                                                                                                        
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                 Last Name                          2. The calculation to determine if a presumption of
                                                                                                               abuse applies will be made under Chapter 7
                                          __________
 United States Bankruptcy Court for the: Northern DistrictDistrict
                                                           of Ohioof __________                                Means Test Calculation (Official Form 122A–2).
 Case number         ___________________________________________                                           3. The Means Test does not apply now because of
 (If known)                                                                                                    qualified military service but it could apply later.


                                                                                                         Check if this is an amended filing

Official Form 122A─1
Cha pt e r 7 St a t e m e nt of Y our Curre nt M ont hly I nc om e                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Pa rt 1 :       Ca lc ula t e Y our Curre nt M ont hly I nc om e



       Not married. Fill out Column A, lines 2-11.
 1. What is your marital and filing status? Check one only.


      Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

       Married and your spouse is NOT filing with you. You and your spouse are:
      ✔
         Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
        
        ✔ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A             Column B
                                                                                                        Debtor 1             Debtor 2 or
                                                                                                                             non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).
                                                                                                          4,986.27
                                                                                                         $_________             0.00
                                                                                                                               $__________

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.
                                                                                                          0.00
                                                                                                         $_________             0.00
                                                                                                                               $__________

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.
                                                                                                          0.00
                                                                                                         $_________             0.00
                                                                                                                               $__________

 5. Net income from operating a business, profession,
                                                                       Debtor 1       Debtor 2
    or farm
    Gross receipts (before all deductions)                                0.00
                                                                         $______         0.00
                                                                                       $______
      Ordinary and necessary operating expenses                          0.00 –
                                                                      – $______          0.00
                                                                                       $______

                                                                                         0.00 here
                                                                                                 Copy                           0.00
      Net monthly income from a business, profession, or farm             0.00
                                                                         $______       $______              0.00
                                                                                                         $_________            $__________

 6. Net income from rental and other real property                     Debtor 1       Debtor 2
    Gross receipts (before all deductions)                               $______
                                                                          0.00           0.00
                                                                                       $______
      Ordinary and necessary operating expenses                       – $______
                                                                         0.00 –          0.00
                                                                                       $______

                                                                                         0.00 here
                                                                                                 Copy
      Net monthly income from rental or other real property               0.00
                                                                         $______       $______             0.00
                                                                                                         $_________             0.00
                                                                                                                               $__________
 7. Interest, dividends, and royalties                                                                     0.00
                                                                                                         $_________             0.00
                                                                                                                               $__________



Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income
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Debtor 1           Christopher   Mark Harris
                   _______________________________________________________                                                   Case number (if known)_____________________________________
                   First Name          Middle Name                Last Name



                                                                                                                                Column A                    Column B
                                                                                                                                Debtor 1                    Debtor 2 or
                                                                                                                                                            non-filing spouse

    8. Unemployment compensation                                                                                                    0.00
                                                                                                                                  $__________                   0.00
                                                                                                                                                               $___________

       under the Social Security Act. Instead, list it here: ............................... 
       Do not enter the amount if you contend that the amount received was a benefit


           For you .................................................................................. $______________
           For your spouse................................................................... $______________

    9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act.                                                                                      0.00
                                                                                                                                  $__________                  0.00
                                                                                                                                                              $___________
    10. Income from all other sources not listed above. Specify the source and amount.
        Do not include any benefits received under the Social Security Act or payments received
        as a victim of a war crime, a crime against humanity, or international or domestic
        terrorism. If necessary, list other sources on a separate page and put the total below.

         ______________________________________                                                                                    0.00
                                                                                                                                  $_________                   0.00
                                                                                                                                                              $___________
         ______________________________________                                                                                    0.00
                                                                                                                                  $_________                   0.00
                                                                                                                                                              $___________
         Total amounts from separate pages, if any.                                                                               0.00
                                                                                                                               + $_________                   0.00
                                                                                                                                                           + $___________
    11. Calculate your total current monthly income. Add lines 2 through 10 for each
        column. Then add the total for Column A to the total for Column B.                                                         4,986.27
                                                                                                                                  $_________
                                                                                                                                                       +       0.00
                                                                                                                                                              $___________
                                                                                                                                                                                  = $__________
                                                                                                                                                                                     4,986.27
                                                                                                                                                                                    Total current
                                                                                                                                                                                    monthly income

    Pa rt 2 :     De t e rm ine Whe t he r t he M e a ns T e st Applie s t o Y ou

    12. Calculate your current monthly income for the year. Follow these steps:
       12a.     Copy your total current monthly income from line 11. .................................................................................. Copy line 11 here          4,986.27
                                                                                                                                                                                  $__________

                Multiply by 12 (the number of months in a year).                                                                                                                  x 12
       12b.     The result is your annual income for this part of the form.                                                                                                12b.     59,835.24
                                                                                                                                                                                  $__________

    13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                              OH

       Fill in the number of people in your household.                                   3

       Fill in the median family income for your state and size of household. ............................................................................................. 13.     70,529.00
                                                                                                                                                                                  $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.
    14. How do the lines compare?

       14a. 
            ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.

       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.

    Pa rt 3 :      Sign Be low




                  /s/ Christopher Mark Harris                                                                           ______________________________________
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                        __________________________________________________________
                       Signature of Debtor 1                                                                              Signature of Debtor 2

                            10/19/2018
                       Date _________________                                                                             Date _________________
                            MM / DD / YYYY                                                                                     MM / DD / YYYY

                       If you checked line 14a, do NOT fill out or file Form 122A–2.
                       If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯

Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income
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           Advance America Corp. Office      Ford Services/Citi
           135 North Church Street           P.O. Box 6497
           Spartanburg, SC 29306             Sioux Falls, SD 57117

           Avant                             Green Sky
           Edit 222 N LaSalle St             P.O. Box 29429
           Chicago, IL 60601                 Atlanta, GA 30359

           Credit Acceptance                 Janice Harris
           25505 West Twelve Mile Road       412 Erie Road
           Southfield, MI 48034              Vermilion, OH 44089

           Ditech Financial LLC              Northcoast Orthopedic
           345 St Peters St, #600            15900 Snow Rd # 400,
           Saint Paul, MN 55102              Brookpark, OH 44142

           FFCC                              One Maine
           24700 Chagrin Blvd                P.O. Box 1010
           Beachwood, OH 44122               Evansville, IN 47706

           Fidelity Collection               Sandusky Anesthesiologist
           855 South Sawburg Ave, #103       703 Tyler Street
           Alliance, OH 44601                Sandusky, OH 44870

           Firelands Community Hospital      VCSO Ohio Ohio, Inc.
           1101 Decatur Street               4490 Liberty Avenue
           Sandusky, OH 44870                Vermilion, OH 44089

           Ford Motor Credit                 Vermilion Municipal Court
           P.O. Box 542000                   687 Decatur Street
           Omaha, NE 68154                   Vermilion, OH 44089

           Ford Motor Credit Company         William Mirando MD
           P.O. Box 542000                   201 N Leavitt Rd
           Omaha, NE 68154                   Amherst, OH 44001




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                              United States Bankruptcy Court
                              Northern District of Ohio




         Christopher Mark Harris
In re:                                                         Case No.

                                                               Chapter    7
                      Debtor(s)




                             Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               10/19/2018                        /s/ Christopher Mark Harris
Date:
                                                 Signature of Debtor



                                                 Signature of Joint Debtor




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 N ot ic e Re quire d by 1 1 U.S.C. § 3 4 2 (b) for
 I ndividua ls Filing for Ba nk rupt cy (Form 2010)


                                                                 Chapter 7:        Liquidation
  This notice is for you if:

      You are an individual filing for bankruptcy,
                                                                           $245     filing fee
        and                                                                 $75     administrative fee

      Your debts are primarily consumer debts.
                                                                 +          $15     trustee surcharge
                                                                           $335     total fee
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
        primarily for a personal, family, or                     difficulty preventing them from paying their
        household purpose.”                                      debts and who are willing to allow their non-
                                                                 exempt property to be used to pay their
                                                                 creditors. The primary purpose of filing under
                                                                 chapter 7 is to have your debts discharged. The
 T he t ype s of ba nk rupt c y t ha t a re                      bankruptcy discharge relieves you after
 a va ila ble t o individua ls                                   bankruptcy from having to pay many of your
                                                                 pre-bankruptcy debts. Exceptions exist for
 Individuals who meet the qualifications may file                particular debts, and liens on property may still
 under one of four different chapters of the                     be enforced after discharge. For example, a
 Bankruptcy Code:                                                creditor may have the right to foreclose a home
 
                                                                 mortgage or repossess an automobile.
       Chapter 7 — Liquidation

 
                                                                 However, if the court finds that you have
       Chapter 11 — Reorganization
                                                                 committed certain kinds of improper conduct
 
                                                                 described in the Bankruptcy Code, the court
       Chapter 12 — Voluntary repayment plan
                    for family farmers or                        may deny your discharge.
                    fishermen
                                                                 You should know that even if you file
 
                                                                 chapter 7 and you receive a discharge, some
       Chapter 13 — Voluntary repayment plan
                    for individuals with regular                 debts are not discharged under the law.
                    income                                       Therefore, you may still be responsible to pay:
                                                                     most taxes;
 You should have an attorney review your                             most student loans;
                                                                 
 decision to file for bankruptcy and the choice of
                                                                      domestic support and property settlement
 chapter.
                                                                      obligations;




 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1




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    most fines, penalties, forfeitures, and                     your income is more than the median income
     criminal restitution obligations; and                       for your state of residence and family size,
    certain debts that are not listed in your                   depending on the results of the Means Test, the
     bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                 creditors can file a motion to dismiss your case
 You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
 from:                                                           motion is filed, the court will decide if your
 
                                                                 case should be dismissed. To avoid dismissal,
     fraud or theft;
                                                                 you may choose to proceed under another
    fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
     of fiduciary capacity;
 
                                                                 If you are an individual filing for chapter 7
     intentional injuries that you inflicted; and
                                                                 bankruptcy, the trustee may sell your property
    death or personal injury caused by                          to pay your debts, subject to your right to
     operating a motor vehicle, vessel, or                       exempt the property or a portion of the
     aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
     drugs.                                                      property, and the proceeds from property that
                                                                 your bankruptcy trustee sells or liquidates that
 If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
 court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
 that you have enough income to repay                            home, a car, clothing, and household items or
 creditors a certain amount. You must file                       to receive some of the proceeds if the property
 Chapter 7 Statement of Your Current Monthly                     is sold.
 Income (Official Form 122A–1) if you are an
 individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
 chapter 7. This form will determine your                        property, you must list it on Schedule C: The
 current monthly income and compare whether                      Property You Claim as Exempt (Official Form
 your income is more than the median income                      106C). If you do not list the property, the
 that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                 to your creditors.
 If your income is not above the median for
 your state, you will not have to complete the
 other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
 Test Calculation (Official Form 122A–2).
                                                                          $1,167 filing fee
 If your income is above the median for your                     +          $550 administrative fee
 state, you must file a second form —the                                  $1,717 total fee
 Chapter 7 Means Test Calculation (Official
 Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
 sometimes called the Means Test—deduct                          business, but is also available to individuals.
 from your income living expenses and                            The provisions of chapter 11 are too
 payments on certain debts to determine any                      complicated to summarize briefly.
 amount available to pay unsecured creditors. If


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 2




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Re a d T he se I m port a nt Wa rnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




 Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
             farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                 money that you owe them, usually using your
            $200 filing fee
                                                                 future earnings. If the court approves your
 +           $75 administrative fee
            $275 total fee
                                                                 plan, the court will allow you to repay your
                                                                 debts, as adjusted by the plan, within 3 years or
 Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
 family farmers and fishermen to repay their                     factors.
 debts over a period of time using future
 earnings and to discharge some debts that are                   After you make all the payments under your
 not paid.                                                       plan, many of your debts are discharged. The
                                                                 debts that are not discharged and that you may
                                                                 still be responsible to pay include:
                                                                     domestic support obligations,
 Chapter 13: Repayment plan for
             individuals with regular                                most student loans,
             income                                                  certain taxes,
                                                                     debts for fraud or theft,
                                                                 
           $235    filing fee
                                                                      debts for fraud or defalcation while acting
 +          $75    administrative fee
                                                                      in a fiduciary capacity,
           $310    total fee
                                                                     most criminal fines and restitution
 Chapter 13 is for individuals who have regular                       obligations,
 income and would like to pay all or part of                         certain debts that are not listed in your
 their debts in installments over a period of time                    bankruptcy papers,
                                                                 
 and to discharge some debts that are not paid.
                                                                      certain debts for acts that caused death or
 You are eligible for chapter 13 only if your
                                                                      personal injury, and
 debts are not more than certain dollar amounts
                                                                     certain long-term secured debts.
 set forth in 11 U.S.C. § 109.


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3




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                                                                 A married couple may file a bankruptcy case
     Wa rning: File Y our Form s on T im e                       together—called a joint case. If you file a joint
                                                                 case and each spouse lists the same mailing
     Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
     requires that you promptly file detailed information
                                                                 bankruptcy court generally will mail you and
     about your creditors, assets, liabilities, income,
     expenses and general financial condition. The               your spouse one copy of each notice, unless
     court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
     not file this information within the deadlines set by       each spouse receive separate copies.
     the Bankruptcy Code, the Bankruptcy Rules, and
     the local rules of the court.

     For more information about the documents and                U nde rst a nd w hic h se rvic e s you
     their deadlines, go to:                                     c ould re c e ive from c re dit
     http://www.uscourts.gov/bkforms/bankruptcy_form             c ounse ling a ge nc ie s
     s.html#procedure.
                                                                 The law generally requires that you receive a
                                                                 credit counseling briefing from an approved
                                                                 credit counseling agency. 11 U.S.C. § 109(h).
 Ba nk rupt c y c rim e s ha ve se rious
                                                                 If you are filing a joint case, both spouses must
 c onse que nc e s
                                                                 receive the briefing. With limited exceptions,
      If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
       assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
       under penalty of perjury—either orally or                 is usually conducted by telephone or on the
       in writing—in connection with a                           Internet.
       bankruptcy case, you may be fined,
       imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                 generally must complete a financial
       All information you supply in connection                 management instructional course before you
       with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
       examination by the Attorney General acting                case, both spouses must complete the course.
       through the Office of the U.S. Trustee, the
       Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
       offices and employees of the U.S.                         provide both the briefing and the instructional
       Department of Justice.                                    course from:
                                                                 http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
 M a k e sure t he c ourt ha s your                              In Alabama and North Carolina, go to:
 m a iling a ddre ss                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/

 The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

 mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

 for Individuals Filing for Bankruptcy (Official
                                                                 If you do not have access to a computer, the
 Form 101). To ensure that you receive
                                                                 clerk of the bankruptcy court may be able to
 information about your case, Bankruptcy
                                                                 help you obtain the list.
 Rule 4002 requires that you notify the court of
 any changes in your address.


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 4



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     B2030 (Form 2030) (12/15)


                                      United States Bankruptcy Court
                                                                Northern District of Ohio
                                               __________________________________
     In re   Christopher Mark Harris

                                                                                                             Case No. _______________

    Debtor                                                                                                    Chapter________________
                                                                                                                      7



                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         1,090.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 790.00


          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   300.00


     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;

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 B2030 (Form 2030) (12/15)
      d. [Other provisions as needed]
cost of credit counseling.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Representation of Debtor in any dischargeability actions, lien avoidances, relief from stay actions, any adversary proceedings, random audit,
conversion to another chapter, motion prosecution or motion defense, reaffirmation agreements.




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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

      _____________________
        10/19/2018
                                        _________________________________________
                                         /s/ William Balena, 0019641

      Date                                    Signature of Attorney
                                        _________________________________________
                                         Balena Law Firm LLC

                                             ​Name of law firm
                                         30400 Detroit Road
                                         Suite 106
                                         Westlake, OH 44145
                                         bill@ohbksource.com




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